                                          Case 5:16-cv-04942-LHK Document 268 Filed 11/01/18 Page 1 of 2




                                   1

                                   2

                                   3

                                   4

                                   5

                                   6

                                   7

                                   8                                   UNITED STATES DISTRICT COURT
                                   9                                  NORTHERN DISTRICT OF CALIFORNIA
                                  10
                                                                             SAN JOSE DIVISION
                                  11

                                  12     THOMAS DAVIDSON, et al.,                            Case No. 16-CV-04942-LHK
Northern District of California
 United States District Court




                                  13                    Plaintiffs,                          CASE MANAGEMENT ORDER
                                  14             v.

                                  15     APPLE, INC.,
                                  16                    Defendant.

                                  17
                                       Plaintiffs’ Attorneys: Stephen Larson, David Wright, and R.C. Harlan
                                  18   Defendant’s Attorneys: Tiffany Cheung and Christopher Robinson
                                  19
                                              A case management conference was held on October 31, 2018. A further case
                                  20   management conference is set for March 13, 2019, at 2:00 p.m. The parties shall file their joint
                                       case management statement by March 6, 2019.
                                  21
                                              The Court lifts the stay of this case. The Clerk shall reopen the file.
                                  22

                                  23          The parties are referred to a settlement conference with a Magistrate Judge with a deadline
                                       of April 15, 2019. The parties shall file a stipulation identifying their choice of Magistrate Judge
                                  24   by November 7, 2018.

                                  25           Based on the unique circumstances of this case, Plaintiffs may amend their expert damages
                                       report and file a motion for class certification in which the parties will litigate only Plaintiffs’
                                  26
                                  27
                                                                                         1
                                  28
                                       Case No. 16-CV-04942-LHK
                                       CASE MANAGEMENT ORDER
                                           Case 5:16-cv-04942-LHK Document 268 Filed 11/01/18 Page 2 of 2



                                       amended damages theory. Plaintiffs’ motion shall not exceed 15 pages.1 Defendant’s
                                   1   opposition shall not exceed 15 pages. Plaintiffs’ reply shall not exceed 5 pages.
                                   2
                                                The Court set the following case schedule:
                                   3
                                           Scheduled Event                                              Date
                                   4
                                           Close of Fact Discovery                                      November 2, 2018
                                   5
                                           Deadline to File Motion for Class Certification              Motion: November 8, 2018
                                   6                                                                    Opposition: December 6, 2018
                                                                                                        Reply: December 20, 2018
                                   7       Opening Expert Reports                                       January 18, 2019
                                   8       Rebuttal Expert Reports                                      February 15, 2019
                                           Class Certification Hearing                                  February 21, 2019 at 1:30 p.m.
                                   9
                                           Close of Expert Discovery                                    March 8, 2019
                                  10
                                           Further Case Management Conference                           March 13, 2019, at 2:00 p.m.
                                  11
                                           Last Day to File Dispositive Motions                         Motion: March 21, 2019
                                  12       (one per side in the entire case)                            Opposition: April 4, 2019
Northern District of California




                                                                                                        Reply: April 11, 2019
 United States District Court




                                  13       Deadline for Magistrate Judge Settlement Conference          April 15, 2019
                                           Hearing on Dispositive Motions                               May 2, 2019 at 1:30 p.m.
                                  14
                                           Final Pretrial Conference                                    July 18, 2019, at 1:30 p.m.
                                  15
                                           Jury Trial                                                   August 12, 2019, at 9:00 a.m.
                                  16       Length of Trial                                              8 days
                                  17

                                  18   IT IS SO ORDERED.

                                  19

                                  20   Dated: November 1, 2018

                                  21                                                    ______________________________________
                                                                                        LUCY H. KOH
                                  22                                                    United States District Judge
                                  23

                                  24

                                  25

                                  26
                                       1
                                        The Court did not impose these page limits at the case management conference. However,
                                  27   because this motion is limited to one issue, a further limitation on page limits is warranted.
                                                                                          2
                                  28
                                       Case No. 16-CV-04942-LHK
                                       CASE MANAGEMENT ORDER
